                 Case 1:14-cr-00207-KJM Document 32 Filed 08/13/15 Page 1 of 2

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:14-CR-00207-AWI-BAM-1

12                                 Plaintiff,            PRELIMINARY ORDER OF FORFEITURE

13                          v.

14   JUAN CARLOS REYES,

15                                Defendant.

16

17          Based upon the plea agreement entered into between United States of America and defendant

18 Juan Carlos Reyes, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.      Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), defendant Juan Carlos

20 Reyes’ interest in the following property shall be condemned and forfeited to the United States of

21 America, to be disposed of according to law:

22                  a. One Hi Standard .22 caliber revolver, Model Double Nine, Serial Number

23                      1223088 W104 and any ammunition seized.

24          2.       The above-listed assets constitute property that was used or intended to be used in a

25 knowing violation of 18 U.S.C. § 924(c)(1)(A)(ii).

26          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

27 seize the above-listed property. The aforementioned property shall be seized and held by the Federal

28 Bureau of Investigation in its secure custody and control.


      PRELIMINARY ORDER OF FORFEITURE                    1
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                 Case 1:14-cr-00207-KJM Document 32 Filed 08/13/15 Page 2 of 2

 1          4.      a.      Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(n), and Local

 2 Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and

 3 notice of the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the

 4 Attorney General may direct shall be posted for at least 30 consecutive days on the official internet

 5 government forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable,

 6 provide direct written notice to any person known to have alleged an interest in the property that is the

 7 subject of the order of forfeiture as a substitute for published notice as to those persons so notified.

 8                  b.      This notice shall state that any person, other than the defendants, asserting a legal

 9 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

10 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

11 within thirty (30) days from receipt of direct written notice, whichever is earlier.

12          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

13 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), in which

14 all interests will be addressed.

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     IT IS SO ORDERED.
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17 Dated: August 13, 2015
                                                   SENIOR DISTRICT JUDGE
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      PRELIMINARY ORDER OF FORFEITURE                      2
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